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                           UNITED STATES DISTRICT COURT
                           NORTHERN DISTRICT OF TEXAS
                                LUBBOCK DIVISION

UNITED STATES OF AMERICA,
     P1aintiff,

                                                            NO. 5:21-CR-085-01-H

MATTHEW QUINTON SANCHEZ,
     Defendant.


                  ORDER ACCEPTING REPORT AND RECOMMENDATION
                     OF TTIE UMTED STATES MAGISTRATE JUDGE
                            CONCERNING PLEA OF GUILTY

         After reviewing all relevant matters of record, including the Notice Regarding Entry

of a Plea of Guilty, the Consent of the Defendant, and the Report and Recommendation

Concerning Plea of Guilty of the United States Magistrate Judge, and no objections thereto

having been filed within flourteen (14) days of service in accordance with 28 U.S.C.

$   636(bxl), the undersigned District Judge is ofthe opinion that the Report and

Recommendation of the Magistrate Judge conceming the Plea of Guilty is correct, and it is

hereby accepted by the Court. Accordingly, the Court accepts the plea of guilty and

Defendant is hereby adjudged guilty.

         Sentence will be imposed in accordance with the Court's scheduling order.

         SO ORDERED.

         Dated December         2021


                                                       t,
                                            JAMES       SLEYHENDRIX
                                            I.INITE rySTATES DISTRICT JUDGE
